Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 1 of 12 PageID #: 2412




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

 AUTO-OWNERS INSURANCE,                        )
                                               )
        Plaintiff,                             )       Case No.: 1:19-cv-00066-SNLJ
                                               )
 V.                                            )       JURY TRIAL DEMANDED
                                               )
 BLAIR LEASING, LLC,                           )
                                               )
        Defendant.                             )

 BLAIR LEASING, LLC,                           )
                                               )
        Counter-Plaintiff,                     )
                                               )
 v.                                            )
                                               )
 AUTO-OWNERS INSURANCE,                        )
                                               )
        Counter-Defendant.                     )

                     AGREED CONFIDENTIALITY ORDER

        Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, Plaintiff Auto-Owners

 Insurance and Defendant Blair Leasing, LLC have moved the Court to enter a protective order

 regarding confidential information that may be produced or obtained in this civil action. The Court

 has determined that there is good cause for entry of a protective order, and the terms set forth

 herein are appropriate to protect the respective interests of the parties, the public, and the Court.

 Accordingly, it is ORDERED:

         1.     Scope. All materials that may be disclosed, produced, exchanged or submitted in

 connection with the above-captioned civil action (the "Action") and/or produced or adduced in the

 course of discovery including, without limitation, initial disclosures, responses to discovery

 requests, deposition testimony and exhibits, and information derived directly therefrom
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 2 of 12 PageID #: 2413




 (hereinafter collectively "documents"), shall be subject to this .Order concerning Confidential

 Information as defined below. This Order is subject to the Local Rules of this District and the

 Federal Rules of Civil Procedure on matters of procedure and calculation of time periods.

        2.      Confidential Information. As used in this Order, "Confidential Information"

 means information designated as "CONFIDENTIAL" by a party that falls within one or more of

 the following categories: (a) information prohibited from disclosure by contract, statute, regulation

 or constitutional provision; (b) patents, proprietary processes, product pricing, trade secrets; (c)

 research, technical, commercial or financial information that the party has maintained as

 confidential; (d) customer or client information; (e) personally identifying information of an

 individual, (e) consumer credit reports; (f) income tax returns (including attached schedules and

 forms), W-2 forms and 1099 forms; or (g) personnel or employment records of an individual. No

 information shall be designated as "CONFIDENTIAL" or "CONFIDENTIAL-ATTORNEYS'

 EYES ONLY" or shall be subject to this Order or any other obligation respecting subsequent use

 or dissemination of information if: (a) the receiving Party already is in rightful possession of the

 information, but only if the receiving party can show by written documentation that the information

 independently came into its rightful possession; (b) the receiving Party receives such information

 at a later date from a source other than the designating Party that is in rightful possession of the

 information, but only if such source can show by written documentation that the information

 independently came into its rightful possession; or (c) if the information at anytime is or was made

 public through no wrongful act of a Party or third party.

        3.      Designation.

                (a)     A document produced by a party to this action may be designated as

        Confidential Information or Confidential - Attorneys' Eyes Only for protection under this




                                                   2
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 3 of 12 PageID #: 2414




       Order by placing or affixing such words on the document and on all copies in a manner

       that will not interfere with the legibility of the document. As used in this Order, "copies"

       include electronic images, duplicates, extracts, summaries or descriptions that contain the

       Confidential Information. The marking "Confidential" or "Confidential - Attorneys' Eyes

       Only" shall be applied prior to or at the time of the documents are produced or disclosed.

       Any copies that are made of any documents marked "Confidential" or "Confidential -

       Attorneys' Eyes Only" shall also be so marked, except that indices, electronic databases or

       lists of documents that do not contain substantial portions or images of the text of marked

       documents and do not otherwise disclose the substance of the Confidential Information are

       not required to be marked.

              (b)     In the case of Confidential Information disclosed in a non-paper medium

       (e.g., videotape, audiotape, computer disks, etc.), the appropriate designation shall be

       affixed to the outside of the medium or its container so as to give clear notice of the

       designation. Such designation is deemed to apply to the object itself and to the Confidential

       Information contained therein.

              (c)     Confidential information may be designated as Confidential - Attorneys'

       Eyes Only if it is of such a highly sensitive private, financial, commercial, technical or

       competitive nature that disclosure thereof without the protections of this Order would

      provide an unfair competitive advantage or create a risk of serious injury that could not be

       avoided by less restrictive means.

              (d)     A document produced by a non-party to this action ("Non-party

       Information") may be designated by the non-party as Confidential or Confidential -

       Attorneys' Eyes Only by following the procedure set forth in Paragraph 3(a) hereinabove.




                                                 3
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 4 of 12 PageID #: 2415




        A party also may designate Non-party Information as Confidential or Confidential -

        Attorneys' Eyes Only by sending written notice designating any such Non-party

        Information as Confidential or Confidential - Attorneys' Eyes Only within 14 days of

        receipt of such Non-party Information.

                (c)     The designation of a document as Confidential or Confidential - Attorneys'

        Eyes Only is a certification by an attorney, party and third party that the document contains

        Confidential Information as defined in this Order.

                (d)     Upon reasonable request of the receiving Party, the designating Party shall

        promptly provide a log of all documents and information designated as Confidential

        Information, which log shall identify the category, as set forth in section 2 of this Order, of

        Confidential Information to which each designated document or information belongs.

        4.      Depositions. Deposition testimony and/or exhibits are protected by this Order only

 if a party: (1) designates such testimony or exhibit( s) as Confidential or Confidential - Attorneys'

 Eyes Only on the record at the time the testimony is taken; or (2) sends written notice designating

 such testimony or exhibit( s) as Confidential or Confidential - Attorneys' Eyes Only within 14

 days of receipt of the transcript of the testimony in the manner specified below. Deposition

 testimony so designated on the record of the deposition shall be treated as Confidential

 Information protected by this Order until 14 days after delivery of the transcript by the court

 reporter to any party or the witness. Within 14 days after delivery of the transcript, a designating

 party may serve a Notice of Designation to all parties of record identifying the specific portions

 of the transcript that are designated Confidential Information, and thereafter those portions

 identified in the Notice ofDesignation shall be protected under the terms of this Order. The failure

 to serve a timely Notice of Designation waives any designation of deposition testimony as




                                                  4
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 5 of 12 PageID #: 2416




 Confidential Information that was made on the record of the deposition, unless otherwise ordered

 by the Court.

        5.       Protection of Confidential Information. All Confidential Information and/or

 Confidential Non-party Information designated hereunder as "Confidential" or "Confidential:

 Attorneys' Eyes Only" shall be maintained in confidence and shall not be used for any purpose

 whatsoever other than in this litigation, including any appeal thereof, and shall not be disclosed,

 directly or indirectly, to any person except as provided in this Order, as follows:

                 (a)     Access to Confidential Information designated as "Confidential" but not

        "Confidential:    Attorneys' Eyes Only" and any copies thereof, and any information

        obtained from inspecting such Confidential Information and notes made therefrom, shall

        be limited to the following persons:

                   1.    The Parties or the executive officers of the corporate Parties to the Action,

                 as well as those employees of the Parties who have a reasonable need of access to

                 the information to assist their attorneys in the Action.

                  11.    Counsel of record for the parties and attorneys regularly employed by

                 counsel of record, and their non-lawyer support personnel. Such support personnel

                 include, but are not limited to, clerical and administrative workers, paralegals and

                 other persons employed or retained by counsel who may assist counsel in providing

                 litigation support, provided that any such support personnel not regularly employed

                 by counsel of record also must comply with the provisions of Paragraph 5(c). All

                 such support personnel shall comply with all other requirements set forth herein.

                 Persons providing investigative services or substantive input to a party under no

                 circumstances shall be deemed support personnel.




                                                   5
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 6 of 12 PageID #: 2417




               iii.   Pursuant to Paragraph 5(c), independent personnel retained or consulted by

              outside counsel for the parties to furnish consulting, investigative, technical or other

              consulting or expert services or to give expert testimony.

               1v.    The Court, jury, court personnel, court reporters, mediators, and similar

              personnel.

                v.    Pursuant to Paragraph 5(c), contractors specifically engaged for the limited

              purpose of making copies of documents or organizing or processing documents,

              including outside vendors hired to process electronically-stored information.

               vi.    Pursuant to Paragraph 5(c), during their depositions, witnesses in this action

              to whom disclosure is reasonably necessary. Witnesses shall not retain a copy of

              documents containing Confidential Information, except witnesses may receive a

              copy of all exhibits marked at their depositions in connection with review of the

              transcripts. Pages of transcribed deposition testimony or exhibits to depositions

              that are designated as Confidential Information pursuant to the process set out in

              this Order must be separately bound by the court reporter and may not be disclosed

              to anyone except as permitted under this Order.

              vii.    Pursuant to Paragraph 5(c), the author or recipient of the document (not

              including a person who received the document in the course of litigation);

             viii.    Pursuant to Paragraph 5(c), any other person with the prior written consent

              of the designating Party or prior order of the Court.

              (b)     Access to Confidential Information designated as "Confidential: Attorneys'

       Eyes Only," and any copies thereof, and any information obtained from inspecting such




                                                 6
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 7 of 12 PageID #: 2418




       Confidential Information and notes made therefrom, and shall be limited to the following

       persons:

                   i.   Counsel of record for the parties and attorneys regularly employed by

              counsel ofrecord and their non-lawyer support personnel. Such support personnel

              include, but are not limited to, clerical and administrative workers, paralegals and

              other persons employed or retained by counsel who may assist counsel in providing

              litigation support, provided that any _such support personnel not regularly employed

              by counsel ofrecord also must comply with the provisions of Paragraph 5(c). All

              such support personnel shall comply with all other requirements set forth herein.

              Persons providing investigative services or substantive input to a party under no

              circumstances shall be deemed support personnel.

                  n.    Pursuant to Paragraph 5(c), independent personnel retained or consulted by

              outside counsel for the parties to furnish consulting, investigative, technical or other

              consulting or expert services or to give expert testimony.

                  m.    The Court, jury, court personnel, court reporters, mediators, and similar

              personnel.

                  1v.   Pursuant to Paragraph 5(c), contractors specifically engaged for the limited

              purpose of making copies of documents or organizing or processing documents,

              including outside vendors hired to process electronically-stored information.

                  v.    Pursuant to Paragraph 5(c), during their depositions, witnesses in this action

              to whom disclosure is reasonably necessary. Witnesses shall not retain a copy of

              documents containing Confidential Information, except witnesses may receive a

              copy of all exhibits marked at their depositions in connection with review of the




                                                  7
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 8 of 12 PageID #: 2419




                transcripts. Pages of transcribed deposition testimony or exhibits to depositions

                that are designated as Confidential Information pursuant to the process set out in

                this Order must be separately bound by the court reporter and may not be disclosed

                to anyone except as permitted under this Order.

                 v1.    Pursuant to Paragraph 5(c), the author or recipient of the document (not

                including a person who received the document in the course of litigation).

                vii.    Pursuant to Paragraph 5(c), any other person with the prior written consent

                of the designating party or prior order of the Court.

               '(c)     Non-lawyer/support personnel identified under Paragraphs 5(a)(ii) and

        5(b)(i), and each person identified under Paragraphs 5(a)(iii), 5(a)(v), 5(a)(vi), 5(a)(vii),

        5(a)(viii), 5(b)(ii), 5(b)(iv), 5(b)(v), 5(b)(vi) and 5(b)(vii) shall, prior to being given access

        to information designated as Confidential or Confidential: Attorneys' Eyes' Only,

        acknowledge in writing his or her familiarity with the terms of this Order and execute a

        Non-Disclosure Agreement in the form of Exhibit A, attached hereto.

                (d)     Counsel for the parties shall make reasonable efforts to prevent

        unauthorized or inadvertent disclosure of Confidential Information.               Counsel shall

        maintain the originals of the forms signed by persons acknowledging their obligations

        under this Order for a period of three years after the termination of the case.

        6.      Inadvertent Failure to Designate. An inadvertent failure to designate a document

 as Confidential Information does not, standing alone, waive the right to so designate the document.

 If a party designates a document as Confidential Information after it was initially produced, the

 receiving party, on notification of the designation, must make a reasonable effort to assure that the

 document is treated in accordance with the provisions of this Order. No party shall be found to




                                                    8
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 9 of 12 PageID #: 2420




 have violated this Order for failing to maintain the confidentiality of a document during a time

 when that document has not been designated Confidential Information, even where the failure to

 so designate was inadvertent and where the document is subsequently designated Confidential

 Information.

        7.      Inadvertent Production:       Inadvertent or mistaken production of documents

 subject to work-product immunity, the attorney-client privilege, or other legal privilege protecting

 information from discovery, shall not constitute a waiver of the immunity or privilege, provided

 that the producing party shall notify the receiving party in writing of the discovery of the

 inadvertent or mistaken disclosure. Upon receipt of such written notice, the receiving party must

 promptly return, sequester, or destroy the specified information and any copies it has; must not use

 or disclose the information; and must take reasonable steps to retrieve the information if the party

 disclosed it before being notified.

        8.      Filing of Confidential Information. This Order does not, by itself, authorize the

 filing of any document under seal.       Any party wishing to file a document designated as

 Confidential Information in connection with a motion, brief or other submission to the Court must

 first file a motion for leave to file the document under seal. The party filing the document must

 also provide notice at the time of the filing to any non-party who produced the Confidential

 Information.

        9.      Challenges by a Party to Designation as Confidential Information.                The

 designation of any document as Confidential Information is subject to challenge by any party. The

 following procedure shall apply to any such challenge.

                (a)     Meet and Confer. Any Party may object to a "Confidential" designation

        made pursuant to this Order at any time by notifying the Designating Party in writing of




                                                  9
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 10 of 12 PageID #: 2421




        that objection and specifying the designated material to which the objection is made. The

        Parties shall, within ten (10) days of service of the written objections, confer concerning

        the objection. If the objection is not resolved, the Party objecting to the designation shall

        file a motion to resolve the dispute over the designation of the material. In the event a

        motion to resolve the dispute is filed, the Designating Party has the burden of establishing

        that the designation is proper. All information subject to dispute shall, until further order

        of the Court, be treated consistently with its designation.

               (b)     Judicial Intervention. If such a conference does not resolve the objection,

        then the receiving party can apply to the Court for a ruling that such material shall not be

        treated as confidential. Each such motion must be accompanied by a competent declaration

        that affirms that the movant has complied with the meet and confer requirements of this

        procedure. Until the Court rules on the challenge, all parties shall continue to treat the

        materials as Confidential Information under the terms of this Order.

               (c)     Any document or Confidential Information from which the producing Party

        has removed the designation following review pursuant to subpart (a) of this Section or

        from which the Court has removed the designation pursuant to subpart (b) of this Section,

        shall not thereafter be subject to this Order or any of its requirements, unless it should

        thereafter be determined by the Court that the basis for the redesignation was the result of

        wrongful conduct by the challenging Party or a third party.

        10.    Action by the Court. Applications to the Court for an order relating to materials

 or documents designated Confidential Information shall be by motion. Nothing in this Order or

 any action or agreement of a party under this Order limits the Court's power to make orders

 concerning the disclosure of documents produced in discovery or at trial.




                                                  10
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 11 of 12 PageID #: 2422




         11.     Use of Confidential Information at Trial.           Nothing in this Order shall be

 construed to affect the use of any document, material, or information at any trial or hearing. A

 party that intends to present or that anticipates that another party may present Confidential

 Information at a hearing or trial shall bring that issue to the Court's and parties' attention prior to

 or at the hearing. The Court may thereafter make such orders as are necessary to govern the use

 of such documents or information at trial.

         12.     Confidential Information Subpoenaed or Ordered Produced in Other

 Litigation. In the event a party or counsel for a party receives a subpoena issued in another lawsuit

 demanding production of. Confidential Information produced in this action, the party receiving

 such subpoena must notify the designating party or its counsel of record herein, in writing,

 promptly via email, facsimile or overnight delivery service so as to afford the designating party

 adequate time and opportunity to try to protect its Confidential Information in the court from which

 the subpoena or order issued. The designating party shall bear the burden and the expense of

 seeking protection in that court of its Confidential Information, and nothing in these provisions

 should be construed as authorizing or encouraging a receiving party in this action to disobey a

 lawful directive from another court. The obligations set forth in this paragraph remain in effect

 while the party has in its possession, custody or control Confidential Information of the designating

 party in this case.

         13.     Obligations on Conclusion of Litigation.

                 (a)    Order Continues in Force. Unless otherwise agreed or ordered, this Order

         shall remain in force after dismissal or entry of final judgment not subject to further appeal.

                 (b)    Obligations at Conclusion of Litigation. Within 60 days after dismissal or

         entry of final judgment not subject to further appeal, all Confidential Information, and




                                                   11
Case: 1:19-cv-00066-SNLJ Doc. #: 64 Filed: 08/18/20 Page: 12 of 12 PageID #: 2423




         documents marked "CONFIDENTIAL," under this Order, including copies, shall be

         returned to the producing party unless (1) the document has been offered into evidence or

         filed without restriction as to disclosure; (2) the parties agree to destruction to the extent

         practicable in lieu of return; or (3) as to documents bearing the notations, summations, or

         other mental impressions of the receiving party, that party elects to destroy the documents

         and certifies to the producing party that it has done so.

         14.     Order Subject to Modification. This Order shall be subject to modification by

 the Court on its own initiative or on application of a party or any other person with standing

  concerning_ the subject matter. The parties may reach an agreement to modify the times or dates

  set forth in this Order without the consent of the Court.

          15.    Persons Bound. This Order shall take effect when entered by the Court and shall

  be binding upon all counsel of record and their law firms, the parties, and persons made subject to

  this Order by its terms.



  SO ENTERED:



  Date                                          The Ho1iorablestephnN.I:baugh, Jr.,
                                                Senior United States District Judge




                                                   12
